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                                             0- S. OSSTOfCT COURT
                                            Sosithem District of Qa.
             IN THE UNITED STATES DISTRICT COUR-f^'f^i? Office
                  THE SOUTHERN DISTRICT OF GEORGIA"
                           WAYCROSS DIVISION                      ^
                                                         Deputy Clerk
UNITED STATES OF AMERICA,


V.                                            Case No. CR517-03


SAMUEL SCOTT CADE,


                  Defendant.




      Murdoch Walker, II, counsel of record for defendant Samuel

Scott Cade in the above-styled case has moved for leave of absence.

The Court is mindful that personal and professional obligations

require the absence of counsel on occasion. The Court, however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent the case from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and           trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      SO ORDERED this           day of December 2017.




                                   WILLIAM T. MOORE,
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF GEORGIA
